801 F.2d 394Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eddie Woodrow GRAY, Appellant,v.Donald BORDENKIRCHER, Warden, West Virginia Penitentiary, Appellee.
    No. 85-6731.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 16, 1986.Decided Sept. 23, 1986.
    
      Eddie Woodrow Gray, appellant pro se.
      Mary Rich Maloy, Assistant Attorney General, for appellee.
      S.D.W.Va.
      DISMISSED.
      Before WIDENER, PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Gray v. Bordenkircher, C/A No. 82-5126 (S.D.W.  Va., Oct. 29, 1982;  Oct. 30, 1985).
    
    
      2
      DISMISSED.
    
    